  Case 1:19-md-02895-LPS Document 9 Filed 09/13/19 Page 1 of 1 PageID #: 20



                      IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF DELAWARE

IN RE: SENSIPAR (CINACALCET                         C.A. No. 19-md-02895-LPS
HYDROCHLORIDE TABLETS) ANTITRUST
LITIGATION




                                                    This Document Relates to:

                                                    C.A. No. 19-1460-LPS




                             NOTICE OF ENTRY OF APPEARANCE

       PLEASE ENTER the appearance of Tiffany J. Cramer of Chimicles Schwartz Kriner &

Donaldson-Smith LLP, 2711 Centerville Road, Suite 201, Wilmington, DE 19808 as Liaison

Counsel for Plaintiffs César Castillo, Inc., KPH Healthcare Services, Inc., a/k/a Kinney Drugs,

Inc. and the Proposed Direct Purchaser Class in the above-captioned matters.



Dated: September 13, 2019                        /s/ Tiffany J. Cramer                   _
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                                              KPH Healthcare Services, Inc., a/k/a Kinney
                                              Drugs, Inc. and the Proposed Direct Purchaser
                                              Class
